                                           Case 2:18-cv-00659-JLR Document 186 Filed 10/01/20 Page 1 of 2
                                                                                              The Honorable James L. Robart


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                                                                   UNITED STATES DISTRICT COURT
                                     10                           WESTERN DISTRICT OF WASHINGTON
                                                                            AT SEATTLE
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                                          CALIFORNIA EXPANDED METAL             CASE NO. 2:18−cv−00659−JLR
                                     12   PRODUCTS COMPANY, a California
                                          corporation; and CLARKWESTERN         ORDER GRANTING
TROJAN LAW OFFICES




                                     13   DIETRICH BUILDING SYSTEMS LLC,
                                          dba CLARKDIETRICH BUILDING            PLAINTIFFS’ MOTION TO SEAL
                     BEVERLY HILLS




                                     14   SYSTEMS, an Ohio limited liability
                                          company,                              The Honorable James L. Robart
                                     15                                         Courtroom 14106
                                                            Plaintiffs,
                                     16         v.
                                     17   JAMES A. KLEIN, an individual;
                                          BLAZEFRAME INDUSTRIES, LTD., a
                                     18   Washington company; and SAFTI-SEAL,
                                          INC., a Washington company,
                                     19
                                                            Defendants.
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                                           Order
                                           CASE NO. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 186 Filed 10/01/20 Page 2 of 2
                                                                                               The Honorable James L. Robart


                                                 This matter comes before the Court on Plaintiffs California Expanded Metal Products
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                                      2   Company’s (“CEMCO”) and Clarkwestern Dietrich Building Systems LLC’s, d.b.a.

                                      3   ClarkDietrich Building Systems (“ClarkDietrich”) (collectively “Plaintiffs”) Motion to Seal the
                                      4   unredacted versions of the following:
                                      5
                                             1. Plaintiffs’ Motion to Reopen Case to Initiate Contempt Proceedings;
                                      6
                                             2. Plaintiffs’ Motion to Reopen Discovery;
                                      7
                                             3. Plaintiffs’ Motion to Unseal the Consent Judgment and Permanent Injunction and Lift
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                                      9          Confidentiality of Settlement Agreement; and

                                     10      4. Exhibits 1 and 2 to the Declaration of R. Joseph Trojan.

                                     11          The Court, having considered all the papers and argument submitted in connection with
                                     12   this Motion,
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




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                                          IT IS HEREBY ORDERED THAT:
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                                                 The motion to seal is GRANTED.
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                                     18   IT IS SO ORDERED.

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                                                     1st day of October, 2020
                                          Dated this ____
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                                                                                                A
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                                                                                               Honorable James L. Robart
                                                                                               United States District Judge
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                                           Order                                         -1-
                                           CASE NO. 2:18−cv−00659−JLR
